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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                     DistrictDistrict
                                                __________    of Nebraska
                                                                      of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 8:21MJ600
                    SHERI GRIEGO and                               )
                     DANIEL GUTIREZ                                )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  December 1, 2021              in the county of               Douglas         in the
                       District of           Nebraska          , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. § 841(a)(1) & (b)(1)                 Did knowingly and intentionally possess with intent to distribute 50 grams or
                                               more of a mixture or substance containing a detectable amount of
                                               methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II
                                               controlled substance.
18 U.S.C. § 924(c)(1)(A)                       Did knowingly use and carry a firearm, during and in relation to, and did
                                               knowingly possess such firearm in furtherance of, a drug trafficking crime for
                                               which Defendant may be prosecuted in a court of the United States


         This criminal complaint is based on these facts:
See attached Affidavit




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                        SA THANE B. PALMER, FBI
                                                                                               Printed name and title
    6ZRUQWREHIRUHPHDQGVLJQHGLQP\SUHVHQFH

✔ Sworn to before me E\WHOHSKRQHRURWKHUUHOLDEOH
    HOHFWURQLFPHDQV.


Date: 12/3/2021
                                                                                                 Judge’s signature

City and state:                         Omaha, Nebraska                        MICHAEL D. NELSON, U.S. Magistrate Judge
                                                                                               Printed name and title
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                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT



                AFFIDAVIT OF SPECIAL AGENT THANE B. PALMER, FBI


IN RE: CRIMINAL COMPLAINT for Sheri GRIEGO, DOB: 02/02/1981 and Daniel

Gutirez, DOB 12/29/1979



I, the undersigned, being duly sworn do hereby depose and say the following:

   1. I am an investigative or law enforcement officer of the United States, within

       the meaning of Section 2510(7) of Title 18, United States Code, and am

       empowered by law to conduct investigations of and to make arrests for offenses

       enumerated in Section 2516 of Title 18, United States Code. I have been a

       Special Agent with the Federal Bureau of Investigation (hereinafter “FBI”)

       since January of 2020. I attended New Agent training at the FBI Academy in

       Quantico, Virginia. I am currently assigned to the FBI TOC-W Task Force in

       Omaha, NE, charged with investigating organized criminal enterprises

       involved in large-scale smuggling, distribution, and sale of illegal drugs. I have

       participated in controlled substance investigations of alleged criminal

       violations of the Controlled Substances Act laws. I have participated in

       investigations involving the purchase of controlled substances from suspected

       narcotics traffickers using both undercover operatives and confidential

       sources. I have participated in investigations involving the wire interception

       of conversations pursuant to Title III. I have participated in the execution of



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   search warrants for controlled substances, the proceeds, and documentary

   evidence of drug trafficking. I have conducted surveillance in connection with

   drug investigations. Through the course of these investigations, I have

   personally interviewed confidential sources and persons arrested for the

   distribution of illegal drugs. My training and experience as a Special Agent,

   my participation in the investigation of drug trafficking organizations, my

   conversations with known drug traffickers, and my conversations with other

   law enforcement officials familiar with drug trafficking and money laundering,

   form the basis of my opinions and conclusions set forth below which I drew

   from the facts set forth herein. I am familiar with drug traffickers’ methods of

   operation including the distribution, storage, and transportation of controlled

   substances and the collection of monetary proceeds of drug trafficking and

   methods of money laundering used to conceal the nature of the proceeds. I

   have conducted investigations regarding the unlawful importation, possession,

   and distribution of controlled substances, as well as related money laundering

   statutes involving the proceeds of specified unlawful activities and conspiracies

   associated with controlled substances, in violation of Title 21, United States

   Code, §§ 846 and 841(a)(1).

2. Based on my experience in conducting criminal investigations of violations of

   the Controlled Substances Act, I know drug trafficking organizations have

   developed a number of methods to insulate their illegal activities from




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   detection by law enforcement. These methods are common to major drug

   trafficking organizations to varying degrees of sophistication.

3. Finally, I also know drug traffickers routinely utilize fictitious names, or other

   individuals, in which to register pagers, telephones, vehicles, real property,

   and utility services in order to avoid detection by law enforcement.

4. I make this affidavit, in part, based on personal knowledge derived from my

   participation in this investigation, and, in part, based upon information from

   the following sources:

   a.     Oral and written reports about this investigation and others I have

          received from other Special Agents and other law enforcement officers,

          agents and agencies in the United States;

   b.     Physical surveillance conducted by federal agents or local law

          enforcement agents, which observations have been reported to me either

          directly or indirectly;

   c.     A review of statements of cooperating sources of information.

                UNDERLYING FACTS AND CIRCUMSTANCES

5. On approximately October 25, 2021, a reliable FBI confidential human source

   (CHS) provided information that Jessica Hernandez, DOB 08/22/1988, and

   José Antonio Arévalo Villalobos AKA Tony, DOB 12/18/1983, were receiving

   large amounts of Methamphetamine from out of state, and distributing the

   drugs in the Omaha and Council Bluffs area.

6. On November 29, 2021, the CHS met with law enforcement and advised two

   individuals recently arrived in the Omaha area from Colorado to receive

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   payment for a drug debt. The individuals from Colorado were described as a

   possible Hispanic female known only as "Sherry" and a Hispanic male who

   was supposed to be Sherry's "muscle". The two were allegedly staying in

   motels near Council Bluffs casinos. When asked who was supposed to give

   the out-of-town couple money, the CHS advised Jessica Hernandez and

   "Tony".

7. The CHS also stated that Tony had been seen with a 22 caliber rifle and was

   allegedly driving a maroon Dodge Magnum. The CHS advised that Jessica and

   Tony owed Sherry and the unidentified Hispanic male approximately thirty

   thousand dollars. Due to a prior conversation with Tony and Jessica, the CHS

   believed Sherry and the unidentified Hispanic male may have brought

   approximately five pounds of methamphetamine with them to Omaha/Council

   Bluffs from Colorado.

8. On December 1, 2021, Officers with the Omaha Police Department (OPD)

   conducted a traffic stop for a moving violation on a silver 2021 Chevrolet

   Malibu, bearing Colorado license plate BHPQ18, at N 8th St and Browne

   Street, Omaha, NE. Upon contact, Officers observed Sheri Griego (GRIEGO),

   DOB 02/02/1981, as the driver and Daniel Gutirez (GUTIREZ), DOB

   12/29/2021, as the front passenger. Officers learned the vehicle was a rental

   and GRIEGO provided a rental agreement that indicated the rental date began

   on November 10, 2021. Officers observed GUTIREZ was visibly nervous and

   appeared to be under the influence of narcotics. Officers completed a data check



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  on both GUTIREZ and GRIEGO and learned that GUTIREZ was a previously

  violent felon and was currently on probation for a felony charge. Officers

  contacted GUTIREZ and asked him to exit the vehicle which he did. While

  conversing with GUTIREZ, officers asked him if he possessed any weapons.

  GUTIREZ responded that he had a knife in his pocket. Officers observed

  GUTIREZ to become even more nervous at which point he was asked about

  other weapons which he admitted to having a gun being in his waistband.

  GUTIREZ was immediately detained, and a loaded semi-auto handgun was

  uncovered from his front waistline. Inside GUTIREZ’s front left pocket officers

  located a meth pipe and bag containing 8 grams of mostly crushed oxycodone.

  Officers located a $20 bill folded up which contained approximately 2 grams of

  suspected methamphetamine. A search of the vehicle uncovered a Ruger 10-22

  rifle which was run through Data Review. A check of the serial number reveled

  that the rifle was stolen out of Littleton, Colorado. In total, the search

  uncovered dealer amounts of methamphetamine, approximately 3 oz, cocaine

  and four different types of controlled prescription medications. Both GUTIREZ

  and GRIEGO were booked into Douglas County Corrections (DCC) on

  numerous felony drug and weapons charges.

9. Shortly after being booked into DCC, FBI SA Thane Palmer and OPD officer

  Jacob Chong interviewed GRIEGO. GRIEGO informed officers that the rental

  vehicle that she had been stopped in was in her name. GRIEGO advised that

  she and GUTIREZ had been in Omaha for several days and were staying at



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             room #125 of the Sleep Inn Hotel in Omaha. GRIEGO told officers that while

             at the hotel GUTIREZ had met with a Hispanic male named “Tony” and that

             she had received a call on her cell phone from a “Jessica” who was looking for

             Tony. Jessica had gotten her number from GUTIREZ. GRIEGO denied

             knowledge of the guns and drugs in her vehicle.

          10. On December 1, 2021, OPD Narcotics conducted a local search warrant on

             room #125 of the Sleep Inn & Suites hotel located at 2525 Abbott Drive,

             Omaha, NE. Officers found, what in their training and experience, appeared

             to be a drug leger. The leger seemed to indicate that approximately $40,000.00

             had been received. Surveillance footage from the hotel also showed GRIEGO

             meeting with a male that matched the description of José Antonio Arévalo

             Villalobos.




                                                   __________________________________
                                                   THANE B. PALMER, Special Agent
                                                   Federal Bureau of Investigation




Sworn to before me by reliable electronic means:

Date: 12/03/2021                                   __________________________________
                                                   MICHAEL D. NELSON
City and State: Omaha, Nebraska                    United States Magistrate Judge
                                                   District of Nebraska
                                                                Michael D. Nelson, U.S. Magistrate Judge




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